              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:07-cr-00033-MR-DLH-3


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
     vs.                         )              ORDER
                                 )
                                 )
JEANNIE LARGENT COSBY,           )
                                 )
                   Defendant.    )
________________________________ )

      THIS MATTER is before the Court on the Defendant’s letter, which the

Court construes as a motion to modify the Defendant’s sentence. [Doc. 540].

      In her letter, the Defendant asks the Court to reduce her sentence,

citing various health issues and the fact that she has completed nine years

out her fourteen-year sentence. [Doc. 540].

      Pursuant to 18 U.S.C. § 3582(c), the Court may reduce or modify a

sentence only: (1) upon motion of the Director of the Bureau of Prisons, if

certain extraordinary and compelling reasons so warrant; (2) under the

express authority of Rule 35 of the Rules of Criminal Procedure, which

provides that the Court may correct a clear error in a sentence within 14 days

after sentencing or reduce a sentence upon motion by the Government for



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the defendant's substantial assistance; or (3) when a defendant is sentenced

to a term of imprisonment based upon a sentencing range that was

subsequently lowered by the United States Sentencing Commission. See

18 U.S.C. § 3582(c). None of these circumstances are presented by the

present motion.1 Accordingly, the Defendant's request for a modification of

her sentence must be denied.

      Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

letter [Doc. 540], which the Court construes as a motion to modify the

Defendant’s sentence, is DENIED.

      IT IS SO ORDERED.




1 In denying the Defendant’s present motion, the Court expresses no opinion regarding

the merits of the Defendant’s motion for a reduction of her sentence pursuant to
Amendment 782 [Doc. 517], which remains pending.
                                         2

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